FORM ord522

                                  United States Bankruptcy Court
                                   MIDDLE DISTRICT OF TENNESSEE
                                              Case No. 3:21−bk−02597
                                                    Chapter 13

    In re:

        JULIE ANNE STAMPS
        2620 NEW SALEM HIGHWAY, APT
        R306
        Murfreesboro, TN 37128




                                                § 522(q)(1) ORDER



        Debtor moved the Court for an Order finding that there is no reasonable cause to believe that
    the exemption limitations of § 522(q)(1) are applicable, and there were no objections.

       The Court therefore finds that Debtor is not exempting any amount of interest in property described in §
    522(q) and there are no proceedings pending in which the debtor may be found guilty of a felony of the kind
    described in § 522(q)(1)(A) or liable for a debt of the kind described in § 522(q)(1)(B).


        It is so ORDERED


    Dated : 8/29/22                                        /s/ Charles M Walker
                                                           UNITED STATES BANKRUPTCY JUDGE




     Case 3:21-bk-02597         Doc 72      Filed 08/29/22 Entered 08/29/22 09:44:16                Desc Order
                                           on 522(q)(1) Page 1 of 1
